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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


 IN RE AUTOMOTIVE PARTS                              Master File No. 12-md-02311
 ANTITRUST LITIGATION                                Honorable Marianne O. Battani


 In Re: Wire Harness Cases


                             APPEARANCE OF MATTHEW L. POWELL

         Please enter the Appearance of Matthew L. Powell of Kerr, Russell and Weber, P.L.C. as

 co-counsel for Defendants Fujikura Ltd. and Fujikura America, Inc. The appearance shall not be

 deemed to be a waiver of any rights or defenses that may be available under common law,

 statutes or the Federal Rules of Civil Procedure.

                                                     KERR, RUSSELL AND WEBER, PLC


                                                     By: /s/Matthew L. Powell
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 Dated: July 13, 2012




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                                CERTIFICATE OF SERVICE

         I hereby certify that on July 13, 2012, I electronically filed the foregoing Appearance
 with the Clerk of the Court using the ECF system which will send notification of such filing by
 electronic Mail to all ECF participants.

                                                    By: /s/Matthew L. Powell
                                                       Matthew L. Powell (P69186)
                                                       mlp@krwlaw.com




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